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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-                                 Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
--------------------------------------------------------- X
         [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

       THIS MATTER having come before the Court on the motion of Defendant Matthew Brent

Goettsche, through the undersigned counsel, to modify conditions of pretrial release (Dkt. __), the

Court having considered the consent of Pretrial Services and no objection from the government,

through Assistant U.S. Attorney Jamie Solano, and having read and considered this motion and

findings consistent with the Court’s rulings at the October 5, 2022 hearing, hereby adopts the

following:

             1. Mr. Goettsche may travel to the Southern District of New York for in-person

                meetings with his attorneys of record in March 2023. A detailed travel itinerary of

                flights and lodging shall be provided to Pretrial Services for review and approval

                in advance.

             2. Mr. Goettsche shall remain in the presence of a third-party custodian, during travel

                and while in New York except during in-person meetings with attorneys at either

                Kobre & Kim LLP, 800 Third Avenue, New York, New York or Smith Villazor

                LLP, 250 West 55th Street, New York, New York.
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            3. Mr. Goettsche may eat at a restaurant within midtown Manhattan (south of 60th

                Street and north of 42nd Street) accompanied at all times by either his third-party

                custodian or his attorneys of record provided the location and time is disclosed to

                Pretrial Services in advance.

            4. Except for in-person meetings with his attorneys of record or such meals, Mr.

                Goettsche shall otherwise remain at the hotel in New York in the presence of a

                third-party custodian during the duration of the trip under all applicable bail

                conditions.

         It is further ordered that the above conditions of release are in addition to, and not in

place of, the conditions previously set forth by this Court.



SO ORDERED.

Dated:

____________________________
Hon. Michael A. Hammer
United States Magistrate Judge




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